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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11                                      Eureka
                                       SAN FRANCISCO DIVISION
12
   UNITED STATES OF AMERICA,                   ) NO. CR 17-449 RMI-1
13                                             )
          Plaintiff,                           ) STIPULATION TO CONTINUE STATUS
14                                             ) CONFERENCE AND EXCLUDE TIME AND
      v.                                       ) [PROPOSED] ORDER
15                                             )
   TIMOTHY LYNN HOWARD,                        )
16                                             )
          Defendant.                           )
17                                             )

18

19                                               STIPULATION
20          The above-captioned matter is currently set for a status conference on January 22, 2018, at 1:00
21 pm. The parties now stipulate and respectfully request that the status conference be continued until

22 March 12, 2018. The parties are engaged in productive discussions regarding the resolution of the case

23 and anticipate that the defendant will be ready to enter a change of plea on that date.

24          The parties further stipulate that the time between January 22, 2018, and March 12, 2018, be
25 excluded under the Speedy Trial Act pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (h)(7)(B). Excluding

26 such time will allow counsel the reasonable time necessary for effective preparation, taking into account

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     STIPULATION TO CONTINUE AND TO EXCLUDE TIME AND [PROPOSED] ORDER
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 1 the exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

 2          IT IS SO STIPULATED.

 3 DATED: January 19, 2018                               ALEX G. TSE
                                                         Acting United States Attorney
 4

 5                                                                /s/
                                                         JULIE D. GARCIA
 6                                                       Assistant United States Attorney
 7
     DATED: January 19, 2018
 8

 9                                                                /s/
                                                         GRACE DiLAURA
10                                                       Counsel for Defendant
                                                         TIMOTHY LYNN HOWARD
11

12

13                                           [PROPOSED] ORDER
14          Based on the parties’ stipulation, the Court hereby ORDERS that the status conference currently
15 set for January 22, 2018, at 1:00 pm, be continued to March 12, 2018, at 1:00 pm.

16          The Court finds that the exclusion of the period from January 22, 2018, to March 12, 2018, from
17 the time limits applicable under 18 U.S.C. § 3161, is warranted; that the ends of justice served by the

18 continuance outweigh the interests of the public and the defendant in the prompt disposition of this

19 criminal case; and that the failure to grant the requested exclusion of time would unreasonably deny

20 counsel the reasonable time necessary for effective preparation, taking into account the exercise of due

21 diligence, and would result in a miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).

22          IT IS SO ORDERED.
23

24 DATED: 1/19/2018                       _________________________________
                                          HON. ROBERT M. ILLMAN
25                                        United States Magistrate Judge
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     STIPULATION TO CONTINUE AND TO EXCLUDE TIME AND [PROPOSED] ORDER
     CR 17-449 RMI-1
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